Case 2:04-cr-20015-.]PI\/| Document 67 Filed 04/25/05 Page 1 of 3 Page|D 118

 

IN THE UNITED sTATEs DISTRICT coURT FH'“'
FOR THE wEsTERN DISTRICT OF TENNESSEE qg
wEsTERN DIVISION OSW P\ 25 P,-*-i ,, U‘
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UNITED STATES OF AMERICA OF m "”“-"\"‘PHIS

Plaintiff,

Criminal No.ji- gw/ gmi/ll

(60-Day Continuance)

V.

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and Counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set On the May 2005,
criminal rotation calendar, but is now RESET for report at QiQQ
a.m. on Fridav, June 24, 2005, with trial to take place on the
July, 2005, rotation calendar With the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 22nd day of April, 2005.

‘=1..5 socument entered on the docket Sheet in compi‘aw»;»
m sue 55 and,for aa(b) rrach on _LI;Q,§'OB j

Case 2:04-cr-20015-.]PI\/| Document 67 Filed 04/25/05 Page 2 of 3 Page|D 119

SO ORDERED this 22rlci day of April, 2005.

wmin

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

///1/\/
§§j§:!§€j§§v'r“

Assistant/Dnited States Attorney

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Counsel for Defendant(s)

UN1TED sTEsAT D1STR1C COURT - WESRTE DISTR1CT TNNESSEE

    

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Honorable .1 on McCalla
US DISTRICT COURT

